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8                           UNITED STATES DISTRICT COURT
9                          SOUTHERN DISTRICT OF CALIFORNIA
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11    UNITED STATES OF AMERICA,                        Case No.: 18MJ2075-BGS-JLS
12                                    Plaintiff,
                                                       ORDER SETTING HEARING ON
13    v.                                               DEFENDANT'S MOTION FOR BAIL
                                                       REDETERMINATION
14    FELIX ANTONIO ABARCA,
15                                 Defendant.
16
17         Defendant’s Motion for Bail Redetermination (ECF No. 15) shall be heard before
18   this Court on Friday, May 18, 2018 at 2:00 p.m.
19         IT IS SO ORDERED.
20   Dated: May 15, 2018
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